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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 HON. KAREN R. BASS, HON. STEPHEN I.
 COHEN, HON. VERONICA ESCOBAR,
 HON. PRAMILA JAYAPAL, HON. HENRY
 C. JOHNSON, JR., HON. MARCIA C.
 KAPTUR, HON. BARBARA J. LEE, HON.                    Civil Action No. 1:21-cv-00400-APM
 JERROLD NADLER, HON. MAXINE
 WATERS, and HON. BONNIE M. WATSON
 COLEMAN, in their personal capacities,

        Plaintiffs,

 v.

 DONALD J. TRUMP, RUDOLPH W.
 GIULIANI, OATH KEEPERS, PROUD
 BOYS INTERNATIONAL, L.L.C.,
 WARBOYS LLC, and ENRIQUE TARRIO,

        Defendants,


       REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ ORIGINAL COMPLAINT

        I.       OVERVIEW OF POINTS OF REPLY

        Plaintiffs open their arguments in their Memorandum in Opposition (“Opposition”, Doc.

29) with a glass chin. Plaintiffs assure the Court that they have plausibly alleged an actual

conspiracy between President Trump, Giuliani, Oath Keepers, Proud Boys, and War Boys. Why?

Because this conspiracy was “announced repeatedly on social and mainstream media”. Somehow,

the FBI and other law enforcement completely missed this “conspiracy in plain sight”. In other

words, Plaintiffs would like this Court to believe the Defendants engaged in an open-aired

conspiracy to commit violence at the Capitol on January 6, 2021—visible to all the world—but

neither the Plaintiffs themselves nor law enforcement took any measures to stop the insurrection

against the United States government that was advertised for all the world to see.



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       Of course, Plaintiffs’ claims are ludicrous. If they were true, the Capitol Riot would have

never occurred. It would have been squashed by our law enforcement before it ever got off the

ground. Trump and Giuliani would be sitting in jail for treason. Plaintiffs—partisan politicians—

have improperly used this frivolous lawsuit to punish their political adversaries. But the First

Amendment—as even Plaintiffs’ amici essentially admit—serve to bar Plaintiffs’ claims. For the

reasons discussed below (and articulated in the Memorandum in support of Defendant’s Motion

to Dismiss), Plaintiffs’ claims should be dismissed and the amici’s request for this Court to expand

liability under Section 1985 at the expense of the First Amendment should be rejected.1

       II.     POINTS OF REPLY

               A. Plaintiffs Cite The Wrong Legal Standard.

       In their Opposition, Plaintiffs claim that the Supreme Court’s decision in Leatherman v.

Tarrant Cty. Narcotics Intel. & Coordination Unit, 507 U.S. 163 (1993) dispensed with any

heightened pleading standards for Section 1985 cases. See Opposition at p. 18, n.6. But

Leatherman had nothing to do with Section 1985 – it was a Section 1983 case. The Court held

that “[a] federal court may not apply a “heightened pleading standard”—more stringent than the

usual pleading requirements of Federal Rule of Civil Procedure 8(a)—in civil rights cases alleging

municipal liability under § 1983.” No Court has applied this rationale to Section 1985 claims

because, unlike Section 1983 claims, Section 1985 claims require elements of conspiracy, which



       1
          This Reply will focus primarily on the incurable defects in Plaintiffs’ Complaint – the
inability to overcome the First Amendment and Plaintiff’s implausible and unreasonable
construction of the meaning of Giuliani’s Statements and those of the other Co-Defendants, which
serve as the basis for their claims. Should the Court disagree, Defendant stands on the other
pleading deficiencies raised in the Motion that, in the discretion of the Court, may be cured with
leave to amend. Defendant, however, does not believe that Plaintiffs can—in good faith—replead
to satisfy, for example heightened pleading requirements under FRCP 9 or actual malice, while
also complying with FRCP 11.


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are required to be pleaded with particularity. This district—and others—has recognized this

principal in the years after the Leatherman decision. See, e.g., Graves v. United States, 961 F.

Supp. 314, 320 (D.D.C. 1997) (requiring Section 1985 conspiracy claim to be pleaded with

particularity). Accordingly, the Court should require Plaintiffs’ Section 1985 conspiracy claim to

be pleaded with particularity.

               B. The Conspiracy Allegations Fall Short.

       Plaintiffs admit the folly of the conspiracy claim in their Opposition. Plaintiffs argue that

“[t]he only question is whether Plaintiffs have plausibly alleged that each of the Defendants shared

the insurrectionists’ plan to interrupt the Electoral College vote count through force, intimidation,

or threats.” Opposition at p. 33. But this is not the standard for conspiracy. The standard is that

all of the Defendants must have had a meeting of the minds wherein they agreed or reached an

understanding that the Electoral College would be disrupted by physically invading the Capitol to

prevent Plaintiffs from certifying the results. Even if it were true—and it is not—that Giuliani

approved of or endorsed the Capitol Riot (he swiftly condemned it) and whatever delay it had on

the Electoral Certification, merely having a shared objective is not sufficient to create a conspiracy.

See United States ex rel. PCA Integrity Assocs., LLP v. NCO Fin. Sys., Inc., No. CV 15-750 (RC),

2020 WL 686009, at *30 (D.D.C. Feb. 11, 2020) (dismissing conspiracy claim where, like here,

plaintiff only alleged a shared conspiratorial objective or “plan”). In other words, the fact that

Giuliani may have wanted Vice President Pence to delay certification of the Electoral College by

sending it “back to the State Legislatures” as Giuliani alluded to in his Statements, does not mean

that he was in a conspiracy with violent rioters to prevent certification by means of violence.

       Realizing that Plaintiffs have nothing to point to by way of specific allegations of a

conspiracy involving Giuliani, they attempt to make Giuliani responsible for the statements made




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by President Trump because he “worked alongside” him for many months prior to the Riot.

Opposition at p. 42. Giuliani—a longtime friend from his days as the mayor of New York—served

as President Trump’s counsel and represented him in one the impeachment proceedings. This

alone is not evidence he was a general-purpose conspirator with Trump and does nothing to

establish they had a meeting of the minds to attack the Capitol.

       But Plaintiffs must show more than just that Trump and Giuliani were involved in some

kind of conspiracy to challenge or overturn the Election results – they must show that Trump and

Giuliani were in a conspiracy with all of the other Defendants to overturn the Election Results by

attacking the Capitol. Plaintiff can point to absolutely nothing to substantiate this frivolous claim.

Rather, Plaintiffs point to alleged incendiary statements made by Giuliani at the Ellipse Rally that

supposedly inciting a mob to violence.2

       But Plaintiffs cannot sustain a claim under Section 1985 because Giuliani supposedly

“incited” a mob to violence. They must demonstrate that Giuliani conspired—a pre-planned

meeting of the minds—with the other Defendants to do so. Plaintiffs have not—and cannot within

the confines of FRCP 11—make a good faith pleading that Giuliani had an agreement with Proud

Boys, Oath Keepers, or War Boys to engage in violence at the Capitol or to incite others to do so.

Plaintiffs have fatally failed to identify any specific facts that would give rise to a meeting of the

minds between Giuliani and Proud Boys, Oath Keepers, or War Boys. The claims must be

dismissed.



       2
         Plaintiffs claim in their Opposition that Giuliani “admits” that “Trump’s mob” arrived
only two minutes after the Capitol perimeter was breached. Opposition at p. 43. But Plaintiffs
misread Giuliani’s Brief. The Brief very clearly recites—based on public information—that the
Ellipse crowd did not arrive at the Capitol until roughly 40 minutes after the Capitol perimeter was
breached. See Giuliani Br. at pp. 7-8. Thus, the supposedly “incited” Ellipse crowd would have
arrived to find the Capitol already breached and occupied.


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               C. Giuliani Did Not Call For Any Conspiracy Or Violence.

       In the Opposition, Plaintiff correctly points out that speech used to create an illegal

conspiracy and incitements to imminent violence is not protected by the First Amendment.

Opposition at p. 49. However, in arguing his Statements are not protected, Plaintiffs ignore

Giuliani’s actual words used in the Statements at the Ellipse and the context in which those

Statements were made. Instead, Plaintiffs paraphrase and interpolate statements to fabricate

plausibility for their specious claims. The Court need not accept Plaintiffs’ characterization of

Giuliani’s Statements as true when those Statements are part of the public record.

       No rational person could read Defendant’s brief Statements at the Ellipse Rally as an

“invitation” to join an illegal conspiracy to attack the Capitol. Giuliani’s statements, in context,

are discussing legal challenged wherein he will “fight to the end” and wherein—assuming Vice

President Pence sent the certification back to the states—he would have a figurative “trial” (again

a legal challenge) by pitting his experts/evidence on the alleged voting fraud against those in favor

of the results. These statements have nothing to do with any alleged meeting of the minds by

Giuliani and the other Defendants wherein they agreed to attack the Capitol and/or incite mob

violence against the Capitol.

       Plaintiffs then attempt to reverse engineer the Supreme Court’s exception in Brandenburg

v. Ohio, 395 U.S. 444, 447 (1969)) to create the “incitement to violence” exception. Plaintiffs

claim that Giuliani’s Statements are vulnerable to a tort claim under Brandenburg because they

are Statements: (1) directed at specific individuals; (2) that specifically advocate for such

individuals to take action; and (3) were uttered with specific intent to produce “imminent disorder”.

Opposition at pp. 54-56. Plaintiffs’ attempts are entirely specious and should be rejected.




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        First, as was the case in Hess, Giuliani’s Statements were not directed toward any particular

person or group. In Hess v. Indiana, 414 U.S. 105 (1973), a person faced an unruly crowd on city

streets and stated, “We'll take the fucking street later,” or “We'll take the fucking street again.” Id.

at 107. The Supreme Court held that this was not speech that was directed toward a specific person

or individual. Id. at 108-09. This crowd on a city street in Hess was clearly much smaller than

the crowd at the Ellipse Rally. And this underscores the arguments above with respect to

conspiracy – it is implausible that Giuliani directed his comments to everyone at the Ellipse Rally

to join him on an escapade of Capitol violence. Plaintiffs can provide no authority where a person

was held liable for the actions of a small minority of an audience as large as the Ellipse Rally. If

Giuliani had said, “Hey, you Proud Boys and Oath Keepers here on the Ellipse grounds – let’s go

to the Capitol and confront Congress”, then perhaps Plaintiff would have an argument the

Statements were directed “specifically directed” toward a person or individual. But as the Court

can read for itself, this was not even close to being the case as Giuliani was speaking to not only

those present at the Ellipse but people listening across the nation.

        But even if Plaintiffs could satisfy this condition, they certainly cannot satisfy the next.

Speech is protected even if it “encourage[d] unlawful acts”. Id. at 245 (quoting Ashcroft v. Free

Speech Coal., 535 U.S. 234, 253 (2002)). Giuliani’s only words that can even be arguably

associated with violence are “fight to the end” and “trial by combat”. But he in no way associated

these rhetorical phrases with a call for any listener or audience member to engage in actual violence

or any action whatsoever. The listeners would not be part of any “trial”—combat or otherwise—

as this was a legal issue and would involve Giuliani and the legal team at some point in the future.

Giuliani says “we” will “fight to the end” to secure a free and fair vote, again referring to himself




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and the legal team. None of these are calls for listeners or audience members to take any action –

much less actions of physical violence directed at the Capitol.

       Under Plaintiffs’ arguments, if a listener in California became incensed by Giuliani’s

Statements and proceeded to ransack Congresswoman Waters’ home believing she was part of

some Election conspiracy, Giuliani would be liable. But this cannot be, and is not, the law of the

First Amendment. Defendant must have specifically directed statements at individuals or a readily

definable group and given them “marching orders” for violence. We can debate as a society

whether the Ellipse Rally’s speakers and an alleged narrative of a “stolen election” were

responsible or prudent in promoting civility, democracy, and peaceful transfer of power, but in no

way can this deprive the Statements of First Amendment protection. Plaintiffs’ claims must be

dismissed.

       Finally, even were Plaintiffs to have colorable arguments to satisfy the first two aspects of

the Brandenburg exception, they also cannot satisfy the third – that Defendant uttered the

Statements with intent to create imminent disorder. Plaintiffs claim that they “do not simply allege

that Trump and Giuliani stirred a crowd to anger […] they urged the crowd to take immediate

action at the Capitol, and the crowd heeded their call.” Opposition at p. 56. This is ludicrous. The

undisputed facts reveal that Giuliani immediately condemned the violence at the Capitol – he in

no way endorsed it. And there is simply no way that one can construe Giuliani’s Statements as

inciting “imminent” violence. In fact, Plaintiffs purposefully ignore the fact that the “trial by

combat” Statements were in the context of an assessment of voting machines “over the next 10

days” and was not at all a call to any action on that day. At worst, Giuliani’s Statements advocated

for his belief that Vice President Pence had the power to send the vote back to the state legislatures

and “give them five to 10 days to finally finish the work” during which time he would be able to




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stake his reputation on which expert was right about the machines. Plaintiffs’ arguments are

completely without merit.

       The question the Court should ask is: If the Capitol Riot had never occurred, would one

be able to look at Giuliani’s Statements (or even the statements of other speakers at the Ellipse

Rally) and determine that Giuliani and/or other speakers engaged in a failed attempt to incite

listeners to march to the Capitol and launch a violent attack? The answer is clearly “no”. Because

that answer is “no”, neither the Court nor law enforcement can impose liability on any of the

speakers.

       Whatever “moral” responsibility members of Congress, the Senate, the media, law

professors, or anyone else want to place on Giuliani or other speakers at the Ellipse Rally for

“irresponsible” or even “inflammatory” rhetoric, legal responsibility cannot lie. Otherwise, every

time impassioned political speech called for “action” or “fighting” against injustice—or calling for

“unrest in the streets”—that speaker would be held vicariously liable as “inviting a criminal

conspiracy” for anyone who exercised free moral agency to engage in violence after hearing the

speech. The First Amendment does not, and cannot, tolerate liability in such a circumstance as

this and the Court should dismiss Plaintiffs’ claims.3




       3
          Amici have filed a brief supporting the Plaintiffs against Giuliani. See Doc. 31-1.
Giuliani responds only to point out that, in their Brief, they impliedly admit that established First
Amendment law may be “too narrow” to allow Plaintiffs’ suit to withstand the protections of the
First Amendment and urge the Court for changes in the law to ensure Plaintiffs and more like them
may bring similar strategic lawsuits against public participation wherein they use Section 1985 to
conjure images of the “Ku Klux Klan”. Id. at pp. 10-11. Giuliani is confident the Court will not
deviate from established Supreme Court precedent and will not allow Giuliani’s First Amendment
rights to be dictated by the partisan interests of leftist academics.


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       III.    CONCLUSION

       For all of the reasons discussed herein, the Court should dismiss the Complaint for failure

to state a claim upon which relief can be granted.


                                              Respectfully submitted,

                                              By: /s/ Joseph D. Sibley IV

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                                              ATTORNEYS FOR RUDOLPH GIULIANI



                                CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of August, 2021, I electronically filed the foregoing
motion with the Clerk of the Court using the CM/ECF system, which I understand to have caused
service on all counsel of record.


                                              /s/ Joseph D. Sibley IV
                                              Joseph D. Sibley IV




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